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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) v 2 x ()
) Criminal No.
Vv. )
) (17 U.S.C. § 506(a)(1)(A) and
SHERRY COLLINGWOOD ) 18 U.S.C. §§ 2 and EE E "
INDICTMENT
ICT 201
COUNT ONE Oc7 23 2019
CLERK U.S. DISTRICT COURT
The grand jury charges: WEST, DIST. OF PENNSYLVANIA

From in and around January 2014, and continuing thereafter until in and around March
2017, in the Western District of Pennsylvania and elsewhere, the defendant, SHERRY
COLLINGWOOD, did willfully infringe the copyright of one or more copyrighted works, to
include "Blue Bloods," "Vikings," "Dexter," "True Blood," "Breaking Bad," and "Californication,"
and other television shows and motion pictures that have been released for sale to the public, by
reproducing and distributing for private financial gain, ten or more copies of one or more
copyrighted works during a 180-day period, which copies have a total retail value of more than
$2,500.

In violation of Title 17, United States Code, Section 506(a)(1)(A) and Title 18, United

States Code, Section 2 and Section 2319(b)(1).

 

 

 
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CRIMINAL FORFEITURE ALLEGATIONS

1) The grand jury realleges and incorporates by reference the allegations
contained in Count One of this Indictment for the purpose of alleging criminal forfeiture pursuant
to Title 18, United States Code, Sections 2323(a)(1) and 2323(b)(1); Title 17, United States Code,
Section 506(b); Title 21, United States Code, Section 853(p); and Title 28, United States Code,
Section 2461(c).

2) The United States hereby gives notice to the defendant charged in Count
One that, upon conviction of the offense, the government will seek forfeiture in accordance with
Title 18, United States Code, Sections 2323(a)(1) and 2323(b)(1), which requires any person
convicted of such offense to forfeit (1) any article, the making or trafficking of which is prohibited
under Title 17, United States Code, Section 506 and Title 18, United States Code, Section 2319;
(2) any property used or intended to be used to commit or facilitate the offense; and (3) any
property constituting or derived from any proceeds obtained directly or indirectly as a result of
such offense, including but not limited to the following: copyright infringing DVDs and DVD
Box Sets, computers, laptops, cellular telephones, cash, cash equivalents, checks and bank account
balances.

3) If through any acts or omission by the defendant, SHERRY
COLLINGWOOD, any or all of the property described in paragraphs above (hereinafter the
“Subject Properties’) .

(a) Cannot be located upon the exercise of due diligence;

(b) Has been transferred, sold to, or deposited with a third person;

(c) Has been placed beyond the jurisdiction of the court;

(d) Has been substantially diminished in value; or

(e) Has been commingled with other property which cannot be subdivided

without difficulty

 

 

 
 

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the United States intends to seek forfeiture of any other property of the defendant up to the value
of the Subject Properties forfeitable above, pursuant to Title 18, United States Code, Section
2323(b)(2) and Title 28 United States Code, Section 2461(c), which incorporates Title 21, United

States Code, Section 853(p).

 

A True Bill,
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\ )
FOREPERSON ” °

RAD VAS,

SCOTT W. BRADY \”

United States Attorney
PA ID No. 88352

 

 
